8:03-cr-00552-JFB-FG3         Doc # 119      Filed: 11/02/05    Page 1 of 2 - Page ID # 461




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA                    )
                                            )
              Plaintiff,                    )                  8:03cr552
                                            )
       vs.                                  )       MEMORANDUM AND ORDER
                                            )
RAFAEL MADRID-OJEDA,                        )
                                            )
              Defendant.                    )


       This matter is before the court on filing no. 118 (part 1), the Petition for Writ of

Habeas Corpus pursuant to 28 U.S.C. § 2241, which has been construed as a Motion

Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (“§ 2255 motion”) filed by the defendant, Rafael Madrid-Ojeda. The defendant

filed filing no. 118 (part 1) in the United States District Court for the District of Minnesota,

the district of his confinement.

       The United States District Court for the District of Minnesota construed filing no.

118 (part 1) as a § 2255 motion, as did this court. However, the United States Supreme

Court does not permit the federal courts to characterize a pro se litigant's communications

as a first § 2255 motion without warning the litigant of the consequences. Castro v. United

States, 124 S. Ct. 786, 789 (2003).

       The primary such consequence is that a defendant may file only one § 2255 motion

without obtaining advance authorization by an appellate court. The Antiterrorism and

Effective Death Penalty Act of 1996 ("AEDPA") imposed procedural limits on "second or

successive" § 2255 motions. 28 U.S.C. § 2244(b) precludes the filing of any subsequent

§ 2255 motion without first obtaining certification by the appropriate court of appeals,
8:03-cr-00552-JFB-FG3        Doc # 119     Filed: 11/02/05    Page 2 of 2 - Page ID # 462




authorizing the district court to consider the successive motion. Therefore, once a

defendant has filed a § 2255 motion, the defendant may not file a later § 2255 motion

without prior appellate court approval in the manner provided in 28 U.S.C. § 2244.

       In light of the foregoing considerations, the court will grant the defendant until

December 15, 2005, to amend filing no. 118 to add any additional claims he may wish to

assert and to change or delete any existing claims presently asserted in filing no. 118 (part

1). In the alternative, the defendant may withdraw his § 2255 motion altogether, if he so

desires, or he may leave filing no. 118 (part 1) intact with no changes. After December 15,

2005, the existing § 2255 motion (filing no. 118, part 1), or, if an Amended Motion has been

filed, then such Amended Motion, shall be deemed submitted for initial review and

subsequent progression by the court.

       SO ORDERED.

       DATED this 2nd day of November, 2005.
                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  Laurie Smith Camp
                                                  United States District Judge




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